                                 OPINION
On August 2, 1990, appellee, Michael Calhoun, pled guilty to one count of attempted aggravated murder, in violation of R.C.2923.02, one count of rape, in violation of 2907.02, and one count of aggravated burglary, in violation of R.C. 2911.11. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of ten to twenty-five years on the count of attempted aggravated murder, an indefinite term of ten to twenty-five years on the count of rape, and an indefinite term of five to twenty-five years on the count of aggravated burglary, each sentence to be served consecutively. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 31, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed. _________________________________ JUDGE WILLIAM M. O'NEILL
FORD, P.J.,
NADER, J., concur.